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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION


  X CORP.,                                           )
                                                     )
                          Plaintiff,                 )
          v.                                         )
                                                     )
  WORLD FEDERATION OF                                )
  ADVERTISERS; MARS,                                 )
  INCORPORATED; CVS HEALTH                           )
  CORPORATION; ØRSTED A/S; TWITCH                    )
  INTERACTIVE, INC.; NESTLÉ S.A.;                    )   Civil Action No. 7:24-cv-00114-B
  NESTLE USA, INC.;                                  )
  ABBOTT LABORATORIES;                               )
  COLGATE-PALMOLIVE COMPANY;                         )
  LEGO A/S; LEGO BRAND RETAIL, INC.;                 )
  PINTEREST, INC.; TYSON FOODS, INC.;                )
  SHELL PLC; SHELL USA, INC.; and                    )
  SHELL BRANDS INTERNATIONAL AG,                     )
                                                     )
                          Defendants.                )


     AGREED MOTION TO STAY ACTION AS TO TWITCH INTERACTIVE, INC.
       Plaintiff X Corp. (“X”) asks the Court to stay this action solely as to Defendant Twitch

Interactive, Inc., (“Twitch”).

       X and Twitch have entered into a memorandum of understanding resolving the action as

to Twitch, subject to the satisfaction of certain conditions between now and December 31, 2025.

X and Twitch contemplate filing a status report or a notice of dismissal as to Twitch on or around

January 10, 2026. Accordingly, X and Twitch—which has not yet appeared in this lawsuit but

whose counsel have authorized the undersigned to represent that their client supports this request—

ask this Court to stay the case as to Twitch only pending such a filing.




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April 7, 2025                        Respectfully submitted.

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                             CERTIFICATE OF CONFERENCE

        Counsel for Twitch has informed the undersigned that Twitch has conferred with counsel
for the other Defendants and reports that among the Defendants that responded, no Defendant
expressed an objection to the relief requested.

                                                  /s/ John C. Sullivan


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                                  CERTIFICATE OF SERVICE

       I certify that on April 7, 2025, a true and correct copy of the foregoing instrument was
served on all counsel of record using the Court’s electronic filing system.


                                                  /s/ John C. Sullivan


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